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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

THE TOWN OF CANTON,                          )
                                             )
                 Plaintiff,                  )
     v.                                      )
                                             )
PURDUE PHARMA L.P. d/b/a PURDUE PHARMA       )
(DELAWARE) LIMITED PARTNERSHIP; PURDUE       )   Civil Action No. ___________
PHARMA INC.; THE PURDUE FREDERICK            )   (Removal from: Superior Court in the
COMPANY, INC.; TEVA PHARMACEUTICALS          )   City of Dedham, Norfolk County,
USA, INC.; CEPHALON, INC.; COLLEGIUM         )   Commonwealth of Massachusetts)
PHARMACEUTICAL, INC.; JOHNSON &              )
JOHNSON; JANSSEN PHARMACEUTICALS, INC.;      )
ORTHO-MCNEIL-JANSSEN                         )
PHARMACEUTICALS, INC. n/k/a JANSSEN          )
PHARMACEUTICALS, INC.; ENDO HEALTH           )
SOLUTIONS INC.; ENDO PHARMACEUTICALS,        )
INC.; ALLERGAN PLC f/k/a ACTAVIS PLC;        )
ACTAVIS, INC. f/k/a WATSON                   )
PHARMACEUTICALS, INC.; WATSON                )
LABORATORIES, INC.; ACTAVIS LLC; ACTAVIS     )
PHARMA, INC. f/k/a WATSON PHARMA, INC.;      )
MALLINCKRODT PLC; MALLINCKRODT LLC;          )
and INSYS THERAPEUTICS, INC.,                )
                                             )
                 Manufacturer Defendants,    )
     - and-                                  )
                                             )
MCKESSON CORPORATION; CARDINAL               )
HEALTH, INC.; and AMERISOURCEBERGEN          )
DRUG CORPORATION,                            )
                                             )
                 Distributor Defendants,     )
     - and-                                  )
                                             )
JOHN KAPOOR, RICHARD SACKLER, THERESA        )
SACKLER, KATHE SACKLER, JONATHAN             )
SACKLER, MORTIMER DA. SACKLER, BEVERLY       )
SACKLER, DAVID SACKLER, and ILENE            )
SACKLER LEFCOURT,                            )
                                             )
                 Individual Defendants.      )
                                             )
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                                   NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441, 1446, and 1367,

Defendant AmerisourceBergen Drug Corporation (“ABDC”) has removed the above-captioned

action from the Superior Court, Norfolk County, Commonwealth of Massachusetts, to the United

States District Court for the District of Massachusetts. As grounds for removal, ABDC states:

I.     NATURE OF REMOVED ACTION

       1.       On December 11, 2018, the Town of Canton, Massachusetts (“Plaintiff”) filed

Town of Canton v. Purdue Pharma L.P., et al., in the Superior Court Department, Norfolk

County, Commonwealth of Massachusetts.         The court assigned the case Civil Action No.

1882CV01582.

       2.       The Complaint asserts claims against three groups of Defendants.

       3.       The first group of defendants consists of Purdue Pharma L.P. d/b/a Purdue

Pharma (Delaware) Limited Partnership; Purdue Pharma Inc.; The Purdue Frederick Company,

Inc.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Collegium Pharmaceutical, Inc.; Johnson

& Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a

Janssen Pharmaceuticals, Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals Inc.; Allergan

plc f/k/a Actavis plc; Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.;1 Watson Laboratories,

Inc.; Actavis LLC; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Mallinckrodt plc;

Mallinckrodt LLC;2 and Insys Therapeutics, Inc. (collectively, “Manufacturer Defendants”).


1
  Allergan plc f/k/a Actavis plc, an Irish corporation, and Allergan Finance, LLC f/k/a Actavis,
Inc. f/k/a Watson Pharmaceuticals, Inc. dispute that they have been properly served but
nevertheless consent to removal and expressly reserve all rights and defenses including those
related to personal jurisdiction and service of process.
2
  Mallinckrodt plc, an Irish corporation, and Mallinckrodt LLC dispute that they have been
served but join this Motion out of an abundance of caution, and expressly reserve all defenses,
including those related to personal jurisdiction and service of process.


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       4.       The second group of defendants consists of McKesson Corporation; Cardinal

Health Inc.; and AmerisourceBergen Drug Corporation (collectively, “Distributor Defendants”).

       5.       The third group of defendants consists of John Kapoor; Richard Sackler; Theresa

Sackler; Kathe Sackler; Jonathan Sackler; Mortimer DA. Sackler; Beverly Sackler; David

Sackler; and Ilene Sackler Lefcourt (collectively, “Individual Defendants”).

       6.       With respect to the Distributor Defendants, Plaintiff complains of over-

distribution of prescription opioids into the Town of Canton. See Compl. ¶ 16. Specifically,

Plaintiff alleges that the Distributor Defendants did not satisfy their obligations under the federal

Controlled Substances Act (“CSA”) and its implementing regulations to monitor and report

suspicious opioid orders, allegedly resulting in “excessive distributions of opioid drugs into the

Town of Canton. . . .” Compl. ¶¶ 368, 381.

       7.       The Complaint asserts seven counts against Defendants: public nuisance

(Count I); common law fraud (Count II); negligent misrepresentation (Count III); negligence

(Count IV); violations of G.L. c. 93A, § 11 (Count V); unjust enrichment (Count VI); and civil

conspiracy (Count VII). Id. ¶¶ 476-547, Prayer for Relief.

       8.       Although Plaintiff’s claims purportedly sound in state law, id. ¶¶ 369, 476-547,

Plaintiff pleads, among other things, that Distributor Defendants had a federal “statutory

obligation to have in place ‘effective controls’ to prevent the ‘diversion’ of controlled

substances[,]” to “report [a] ‘suspicious order’ [of a controlled substance] to the DEA[,]”

“investigate the suspicious order, document the result of the investigation, and, if not reasonably

satisfied that the suspicious order is for the legitimate sale of the Retail End User,” to

“immediately halt the sale.” Id. ¶ 368 (citing 21 C.F.R. § 1301.71(a) and Masters Pharm., Inc. v.

DEA, 861 F.3d 206, 212-13 (D.C. Cir. 2017)). Plaintiff further alleges that the Distributor




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Defendants failed to detect, report, investigate, and halt suspicious orders of opioids, resulting in

the distribution of excessive amounts of opioids to the Town of Canton. Id. ¶¶ 381, 393.

Because the duties governing reporting and shipping “suspicious” opioid orders arise from the

CSA and its implementing regulations, Plaintiff pleads that alleged violations of federal law form

the basis for its claims.

        9.       On December 5, 2017, the Judicial Panel on Multidistrict Litigation (“JPML”)

formed a multidistrict litigation (“MDL”) and transferred opioid-related actions to Judge Dan

Polster in the Northern District of Ohio pursuant to 28 U.S.C. § 1407.             See In re Nat’l

Prescription Opiate Litig., MDL No. 2804 (Dec. 5, 2017), ECF No. 328. More than a thousand

opioid-related actions are pending in the MDL, including more than 100 actions originally filed

in this District.3

        10.      ABDC intends to tag this case immediately for transfer to the MDL.

        11.      In accordance with 28 U.S.C. § 1446(a), copies of all process, pleadings, and

orders served on ABDC in the state court action are attached hereto as Exhibit A.

II.     TIMELINESS OF REMOVAL

        12.      ABDC received service of the Complaint on January 8, 2019.

        13.      ABDC has not responded to the Complaint in state or federal court. (Plaintiff and

the Distributor Defendants stipulated to an extension of the response deadline.)

        14.      In accordance with 28 U.S.C. § 1446(b), this notice of removal is timely filed

within 30 days of service of Plaintiff’s Complaint. See Murphy Bros., Inc. v. Michetti Pipe




3
  See, e.g., JPML Dkt. No. 2060 (CTO-46) (transferring 6 cases from D. Mass. to MDL); JPML
Dkt. No. 2025 (CTO-45) (transferring 17 cases from D. Mass. to MDL); JPML Dkt. No. 1894
(CTO-42) (transferring 11 cases from D. Mass. to MDL).


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Stringing, Inc., 526 U.S. 344, 354-56 (1999) (30-day removal period begins to run upon service

of summons and complaint).

       15.     “If defendants are served at different times, and a later-served defendant files a

notice of removal, any earlier-served defendant may consent to the removal even though that

earlier-served defendant did not previously initiate or consent to removal.”              28 U.S.C.

§ 1446(b)(2)(C).

III.   PROPRIETY OF VENUE

       16.     Venue is proper in this Court pursuant to 28 U.S.C. § 1441(a) because the

Superior Court Department, Norfolk County, Commonwealth of Massachusetts, where the state

court action was pending prior to removal, is a state court within this federal district and division.

IV.    BASIS OF REMOVAL

       17.     Removal is proper pursuant to 28 U.S.C. §§ 1331 and 1441 because Plaintiff’s

claims present a substantial federal question under the CSA, 21 U.S.C. §§ 801, et seq.4



4
  A defendant need not overcome any artificial presumptions against removal or in favor of
remand. In Breuer v. Jim’s Concrete of Brevard, Inc., 538 U.S. 691 (2003), the Supreme Court
unanimously held that the 1948 amendments to the general federal removal statute, 28 U.S.C.
§ 1441(a), trumped the Court’s prior teachings in Shamrock Oil & Gas Corp. v. Sheets, 313 U.S.
100 (1941), and its antecedents, that federal jurisdictional statutes must be strictly construed
against any recognition of federal subject matter jurisdiction, with every presumption indulged in
favor of remand. Id. at 697-98 (“[W]hatever apparent force this argument [of strict construction
against removal] might have claimed when Shamrock was handed down has been qualified by
later statutory development. . . . Since 1948, therefore, there has been no question that
whenever the subject matter of an action qualifies it for removal, the burden is on a plaintiff to
find an express exception.” (emphasis added)); see also Exxon Mobil Corp. v Allapattah Servs.,
Inc., 545 U.S. 546, 558 (2005) (construing 1990 enactment of 28 U.S.C. § 1367, authorizing
supplemental federal subject matter jurisdiction, and holding: “We must not give jurisdictional
statutes a more expansive interpretation than their text warrants; but it is just as important not to
adopt an artificial construction that is narrower than what the text provides . . . Ordinary
principles of statutory construction apply.” (citation omitted)).
More recently, a unanimous Supreme Court in Mims v. Arrow Financial Services, LLC held:
“Divestment of district court jurisdiction should be found no more readily than divestment of


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        18.     The original jurisdiction of the district courts includes jurisdiction over “all civil

actions arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

        19.     “Whether a case ‘arises under’ federal law for purposes of § 1331” is governed by

the “well-pleaded complaint rule.” Holmes Grp., Inc. v. Vornado Air Circulation Sys., Inc., 535

U.S. 826, 830, 839 (2002). The artful pleading doctrine, however, “empowers courts to look

beneath the face of the complaint to divine the underlying nature of a claim, to determine

whether the plaintiff has sought to defeat removal by asserting a federal claim under state-law

colors.” BIW Deceived v. Local S6, Indus. Union of Marine & Shipbuilding Workers of Am., 132

F.3d 824, 831 (1st Cir. 1997); see also Lopez-Munoz v. Triple-S Salud, Inc., 754 F.3d 1, 5 (1st

Cir. 2014) (“[T]he artful pleading doctrine allows a federal court to peer beneath the local-law

veneer of a plaintiff’s complaint in order to glean the true nature of the claims presented.”). “In

other words, a plaintiff may not, by the expedient of artful pleading, defeat a defendant’s

legitimate right to a federal forum.” BIW Deceived, 132 F.3d at 831.

        20.     Even when state law creates the causes of action, a complaint may raise a

substantial question of federal law sufficient to warrant removal if “vindication of a right under

state law necessarily turn[s] on some construction of federal law.” Merrell Dow Pharm. Inc. v.

Thompson, 478 U.S. 804, 808-09 (1986) (citation omitted); see Gully v. First Nat’l Bank, 299

U.S. 109, 112 (1936) (“To bring a case within [§ 1441], a right or immunity created by the

Constitution or laws of the United States must be an element, and an essential one, of the

plaintiff’s cause of action.”).

        21.     “[F]ederal jurisdiction over a state law claim will lie if a federal issue is:

(1) necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in

state court jurisdiction, given the longstanding and explicit grant of federal question jurisdiction
in 28 U.S.C. § 1331.” 565 U.S. 368, 379 (2012) (brackets and citations omitted).


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federal court without disrupting the federal-state balance approved by Congress.” Gunn v.

Minton, 568 U.S. 251, 258 (2013); see Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg.,

545 U.S. 308, 315 (2005). “Where all four of these requirements are met . . . jurisdiction is

proper because there is a ‘serious federal interest in claiming the advantages thought to be

inherent in a federal forum,’ which can be vindicated without disrupting Congress’s intended

division of labor between state and federal courts.” Gunn, 568 U.S. at 258; see also One & Ken

Valley Hous. Grp. v. Maine State Hous. Auth., 716 F.3d 218, 224 (1st Cir. 2013) (federal

jurisdiction is proper “where a state-law claim necessarily raises a stated federal issue, actually

disputed and substantial, which a federal forum may entertain without disturbing any

congressionally approved balance of federal and state judicial responsibilities” (citation and

alteration omitted)); Rhode Island Fishermen’s All., Inc. v. Rhode Island Dep’t Of Envtl. Mgmt.,

585 F.3d 42, 48 (1st Cir. 2009) (“To satisfy the rule, the plaintiff's well-pleaded complaint must

exhibit, within its four corners, either an explicit federal cause of action or a state-law cause of

action that contains an embedded question of federal law that is both substantial and disputed.”).

       22.     As set forth below, this case meets all four requirements.5

       23.     Although Plaintiff ostensibly pleads its theories of recovery against Distributor

Defendants as state law claims, it bases the underlying theory of liability on ABDC’s alleged

violations of federal law or alleged duties arising out of federal law, specifically the CSA, i.e.,

that a portion of its otherwise lawful shipments of prescription opioids were unlawful because

they were shipped in fulfillment of suspicious orders that ABDC allegedly had a duty to identify,

report, and then not ship.

5
  The substantiality inquiry as it pertains to federal question jurisdiction is distinct from the
merits of the case and has no bearing on the strength of Plaintiff’s underlying claims. See Gunn
v. Minton, 568 U.S. 251, 260 (2013) (“The substantiality inquiry under Grable looks . . . to the
importance of the issue to the federal system as a whole.”).


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       24.     The source of the asserted legal duty to monitor and report suspicious orders of

controlled substances is the CSA, 21 U.S.C. §§ 801, et seq., and its implementing regulations.

See 21 C.F.R. § 1301.75(b) (duty to monitor and report suspicious orders of controlled

substances). The Complaint makes this clear on its face. See Compl. ¶ 14 (stating that “all the

prescription opioids involved in the opioid epidemic . . . are either Schedule II or III controlled

substances” and quoting provisions of the CSA); id. ¶ 15 (alleging duties under federal law “‘to

report to [the] DEA suspicious orders for controlled substances and to take other precautions to

ensure that those medications would not be diverted into illegal channels[,]’” quoting Masters

Pharm., Inc. v. DEA, 861 F.3d 206, 211-12 (D.C. Cir. 2017), and citing 21 C.F.R. §1301.77); id.

¶ 368 (discussing the “statutory scheme set out in the CSA” and the obligations of wholesale

drug distributors thereunder “to have in place ‘effective controls’ to prevent the ‘diversion’ of

controlled substances[,]” to “report [a] ‘suspicious order’ [of a controlled substance] to the

DEA[,]” to “investigate the suspicious order, document the result of the investigation, and, if not

reasonably satisfied that the suspicious order is for the legitimate sale of the Retail End User,” to

“immediately halt the sale[,]” (citing 21 C.F.R. § 1301.71(a) and Masters Pharm., 861 F.3d at

212-13)); id. ¶ 383-84 (discussing briefings provided to the Defendant Distributors by the DEA

regarding the foregoing duties).

       25.     The source of the asserted legal duty to suspend shipments of suspicious orders is

21 U.S.C. § 823(b) and (e), as interpreted by the DEA, a division of the United States

Department of Justice. Specifically, DEA interprets the public interest factors for registering

distributors under the CSA, 21 U.S.C. § 823(b) and (e), to impose a responsibility on distributors

to exercise due diligence to avoid filling suspicious orders that might be diverted to unlawful

uses. See Masters Pharm., 861 F.3d at 212-13 (citing In re Southwood Pharm., Inc., Revocation




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of Registration, 72 Fed. Reg. 36,487, 36,501, 2007 WL 1886484 (Drug Enf’t Admin. July 3,

2007), as source of DEA’s “Shipping Requirement”). Again, Plaintiff’s Complaint makes this

clear on its face.   See Compl. ¶ 368 (alleging that, under the CSA “the wholesaler must

investigate the suspicious order, document the result of the investigation, and, if not reasonably

satisfied that the suspicious order is for the legitimate sale of the Retail End User, it must

immediately halt the sale” (citing Masters Pharm., 861 F.3d at 212-13)); id. ¶ 15 (citing Masters

Pharm., 861 F.3d at 211-12 to establish Distributor Defendants’ alleged duties “to ensure that

[opioid] medications would not be diverted into illegal channels”).

       26.     Plaintiff’s theories of liability against ABDC and other Distributor Defendants, as

pled in the Complaint, are predicated on allegations that ABDC and Distributor Defendants

breached alleged duties under the CSA to implement effective controls to detect and report

“suspicious” pharmacy orders for prescription opioids and—crucial to Plaintiff’s claims—to

“halt” or refuse to ship such orders to Massachusetts pharmacies. See Compl. ¶¶ 14-17; 368-93.

       27.     Specifically, Plaintiff pleads that ABDC and the other Distributor Defendants

violated federal law with, among others, the following allegations:

               a.     “[T]he wholesale distributor has a statutory duty . . . to conduct its

                      business of distributing dangerous drugs in a reasonable and safe manner.

                      Included among these obligations are the duties ‘to report to [the] DEA

                      suspicious orders for controlled substances and to take other precautions to

                      ensure that those medications would not be diverted into illegal channels.’

                      Masters Pharm., Inc. v. DEA, 861 F.3d 206, 211-12 (D.C. Cir. 2017); 21

                      C.F.R. § 1301.77.” Compl. ¶ 15.




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    b.    “Each Distributor Defendant utterly failed to discharge its statutory

          obligations . . . [to] detect, report, inspect, and halt suspicious orders, so as

          to prevent the misuse or black market diversion of controlled

          substances[.]” Compl. ¶ 16.

    c.    “Each Distributor Defendant has been investigated and fined by the DEA

          for failing to: (a) operate its mandatory internal oversight system in good

          faith; (b) report suspicious orders to the DEA; and (c) halt the shipment of

          ‘suspicious orders for controlled substances’ when they were discovered.”

          Compl. ¶ 17.

    d.    “Under the statutory scheme set out in the CSA, enacted by Congress in

          1970, wholesale pharmaceutical distributors were given the statutory

          obligation to have in place ‘effective controls’ to prevent the ‘diversion’ of

          controlled substances. 21 C.F.R. § 1301.71(a). Once a pharmaceutical

          distributor detects a ‘suspicious order’ of the controlled substance, it is

          obligated to take several mandatory steps. It must report the ‘suspicious

          order’ to the DEA. Additionally, the wholesaler must investigate the

          suspicious order, document the result of the investigation, and, if not

          reasonably satisfied that the suspicious order is for the legitimate sale of

          the Retail End User, it must immediately halt the sale. See Masters

          Pharm., 861 F.3d at 212-13.” Compl. ¶ 368.

    e.    “[T]he three Distributor Defendants have engaged, and continue to

          engage, in the unlawful conduct of failing to report suspicious orders,

          reasonably investigate such orders, or halt such orders, thereby knowingly,




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          recklessly, or negligently making grossly excessive distributions of opioid

          drugs into the Town of Canton, and its surrounding areas, which

          threatened (and continues to threaten) the public health and safety of

          residents of the Town.” Compl. ¶ 381.

    f.    “Each Distributor Defendant made the unlawful and unconscionable

          decision to continue suspicious sales, where it had strong reason to

          believe, or actually knew, that the prescription drugs were being diverted

          and not being used for legitimate reasons, thereby subjecting Americans

          and Massachusetts residents, including residents of the Canton

          community, to grievous harm up to, and including, death by overdose.”

          Compl. ¶ 385.

    g.    “The repeated shipments of suspicious orders, year-after-year, by each

          Distributor Defendant demonstrated its reckless conduct and criminal

          indifference to its statutory and common law obligations, which it knew

          would result in a great probability of causing substantial harm to a great

          many American communities, including Canton.” Compl. ¶ 392.

    h.    “The Distributor Defendants’ failure to detect, report, investigate, and halt

          suspicious orders is a direct, foreseeable, and proximate cause of the

          excessive amounts of opioids that have inundated the Town of Canton in

          numbers far beyond any legitimate medical need.” Compl. ¶ 393.

    i.    “Distributor Defendants knew the material fact that they had a statutory

          duty under both Massachusetts law and federal law, as well as a common

          law duty, to protect the public health by monitoring and controlling the




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                      amount of prescription opioids that was allowed to enter the Canton area.

                      They knew they were not discharging that responsibility, failed to alert the

                      DEA and state authorities about ‘suspicious sales’ of drugs, and failed to

                      halt the suspicious sales of drugs throughout the United States, including

                      in and/or to the Town of Canton.” Compl. ¶ 493.

               j.     “Despite this knowledge of grave foreseeable harm to the Town of Canton

                      from distributing vast quantities of opioids without regard to whether or

                      not the sales were suspicious, and without disclosing the material fact that

                      they were acting in violation of laws and regulations requiring that they

                      maintain a system to prevent suspicious sales, the Distributor Defendants

                      breached their duty to distribute the opioids in a fair and reasonable

                      manner.” Compl. ¶ 503.

               k.     “[T]he FCSA . . . create[s] statutory standards that require prescription

                      drug distributors to maintain and monitor a closed chain of distribution

                      and detect, report, inspect, and halt suspicious orders, so as to prevent the

                      black market diversion of controlled substances.” Compl. ¶ 514.

               l.     “Distributor and Manufacturer Defendants unlawfully failed to act to

                      prevent diversion and failed to monitor for, report, and prevent suspicious

                      orders of opioids.” Compl. ¶ 542.

       28.     Although Plaintiff purports to “den[y] that the reference to the CSA in this

Complaint means that any claims ‘arise under’ federal law within the meaning of 28 U.S.C.

§ 1331[,]” Compl. ¶ 368, and that “[the] Distributor Defendants have identical statutory

obligations arising under Massachusetts state law,” id. ¶ 369, Plaintiff fails to cite any specific




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provision of state law that imposes a requirement that wholesale pharmaceutical distributors

identify and report suspicious orders of controlled substances to a Massachusetts government

official or entity, or a state law source for a requirement that wholesale pharmaceutical

distributors halt suspicious orders of controlled substances from registered pharmacies. To the

contrary, the Massachusetts laws that Plaintiff cites require only that wholesale distributors

comply with federal laws and regulations governing the distribution of controlled substances.6

       29.     The federal question presented by Plaintiff’s claims therefore is “(1) necessarily

raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal court without

disrupting the federal-state balance approved by Congress.” Gunn, 568 U.S. at 258.

       30.     First, Plaintiff’s state law claims “necessarily raise” a federal question because

“resolution of the dispute requires interpretation of a . . . federal issue.” Iberiabank v. Beneva 41-

I, LLC, 701 F.3d 916, 919 n.4 (11th Cir. 2012); see also Rhode Island Fishermen’s All., 585 F.3d

at 49 (federal issue necessarily raised where “the[ ] asserted right to relief under state law

requires resolution of a federal question”); PNC Bank, N.A. v. PPL Elec. Util. Corp., 189 F.

App’x 101, 104 n.3 (3d Cir. 2006) (federal question necessarily raised where “the right to relief


6
  Plaintiff specifically cites four provisions of Massachusetts law that it claims give rise to the
duties to report and halt shipments of suspicious orders: Mass. Gen. Laws Ann. ch. 94C, § 12(a),
105 CMR 700.006(A), 247 CMR 7.04(9)(a), and 247 CMR 7.04(9)(c). See Compl. ¶¶ 16, 369.
None of those provisions creates such a duty. Mass. Gen. Laws Ann. ch. 94C, § 12(a) merely
sets forth the prerequisites for the issuance of a registration to manufacture or distribute
controlled substances. 105 CMR 700.006(A) provides only that “Every person registered with
the Commissioner shall keep records, maintain inventories, and make reports in conformance
with the requirements of the Federal Comprehensive Drug Prevention and Control Act of 1970
and the Federal Food, Drug and Cosmetic Act, and 105 CMR 700.006.” 247 CMR 7.04(9)(a)
provides that “[w]holesale drug distributors shall operate in compliance with applicable federal,
state, and local laws and regulations.” 247 CMR 7.04(9)(c) provides that “[w]holesale drug
distributors that deal in controlled substances as defined in M.G.L. c. 94C shall register with the
Board, the Massachusetts Department of Public Health and with the United States Drug
Enforcement Administration (DEA), and shall comply with all applicable state, local and federal
regulations.”


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depends upon the construction or application of federal law.” (citation omitted)); see also N.

Carolina by & through N. Carolina Dep’t of Admin. v. Alcoa Power Generating, Inc., 853 F.3d

140, 146 (4th Cir. 2017) (“Regardless of the allegations of a state law claim, ‘where the

vindication of a right under state law necessarily turns on some construction of federal law,’ the

claim arises under federal law and thus supports federal question jurisdiction under 28 U.S.C.

§ 1331.” (alteration omitted)); Virgin Islands Hous. Auth. v. Coastal Gen. Constr. Servs. Corp.,

27 F.3d 911, 916 (3d Cir. 1994) (“[A]n action under 28 U.S.C. § 1331(a) arises only if the

complaint seeks a remedy expressly granted by federal law or if the action requires construction

of a federal statute, or at least a distinctive policy of a federal statute requires the application of

federal legal principles” (emphasis added)).

       31.     As pled, Plaintiff’s claims against ABDC and the other Distributor Defendants

require Plaintiff to establish that Distributor Defendants breached duties arising solely under

federal law, by failing to stop shipments of otherwise lawful orders of controlled substances into

Massachusetts.

       32.     For example, in pleading negligence, Plaintiff alleges that Distributor Defendants’

“conduct relating to the wholesale distribution of controlled substances is governed by,” among

other things, “the federal Controlled Substances Act,” that the CSA “create[s] statutory standards

that require prescription drug distributors to maintain and monitor a closed chain of distribution

and detect, report, inspect, and halt suspicious orders, so as to prevent the black market diversion

of controlled substances[,]” and that Distributor Defendants’ alleged “violations of the statutory

and regulatory standards set forth in . . . the FCSA constitute negligence under Massachusetts

law.” Compl. ¶¶ 513-14, 518 (Count IV). As noted, however, the alleged duty to prevent or halt

shipments of suspicious orders arises solely under the federal CSA, and not under state law.




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“Thus, it is not logically possible for the plaintiffs to prevail on this cause of action without

affirmatively answering the embedded question of whether federal law” required Distributor

Defendants to report and halt shipments of suspicious orders for prescription opioids under the

circumstances. Rhode Island Fishermen’s All., 585 F.3d at 49. “That is enough to make out a

federal question.” Id.

       33.     While plaintiffs are masters of their complaints, and they “may avoid federal

jurisdiction by exclusive reliance on state law,” Caterpillar, Inc. v. Williams, 482 U.S. 386, at

392 (1987) (emphasis added), Plaintiff here alleges violations of federal duties as the basis for its

state-law claims.7 Although Plaintiff refers in passing to “Massachusetts state law” that it claims

gives rise to the same duties, see Compl. ¶ 369, the specific provisions of Massachusetts law that

it cites do not give rise to an independent duty for wholesale distributors of controlled substances

to report or refuse to fill suspicious orders for prescription opioids. Tellingly, Plaintiff cites

extensively to federal laws and regulations, federal court decisions, and DEA decisions that

establish a duty to report suspicious orders and prevent opioid diversion. See, e.g., Compl. ¶¶ 15,

17-19, 368, 370, 373, 383-84, 387-91, 405, 513-14, 518.


7
  Furthermore, it is not necessary for federal jurisdiction that ABDC establish that all of
Plaintiff’s counts against it raise a federal question. Even if Plaintiff could prove one or more of
those counts without establishing a violation of federal law, this Court still has federal-question
jurisdiction: “Nothing in the jurisdictional statutes suggests that the presence of related state law
claims somehow alters the fact that [the] complaints, by virtue of their federal claims, were ‘civil
actions’ within the federal courts’ ‘original jurisdiction.’” City of Chicago v. Int’l College of
Surgeons, 522 U.S. 156, 166 (1997).
Because the Court has original jurisdiction over at least one count here, it has supplemental
jurisdiction over Plaintiff’s remaining counts against ABDC and the other Distributor
Defendants, which are so related that they “form part of the same case or controversy.” 28
U.S.C. § 1367(a); see also Rhode Island Fishermen’s All. 585 F.3d at 48 (“[I]f the district court
had original jurisdiction over any one of these causes of action, then it had supplemental
jurisdiction over the rest.”).




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       34.     In sum, the Complaint necessarily raises a federal issue—namely, whether

Distributor Defendants violated the CSA.

       35.     Second, this federal issue is “actually disputed” because the parties disagree as to

the scope of alleged duties arising under the CSA and whether Distributor Defendants violated

their duties that, as Plaintiff pleads them, arise only under the CSA. Indeed, this federal issue is

the “central point of dispute.” Gunn, 568 U.S. at 259.

       36.     Third, the federal issue presented by Plaintiff’s claims is “substantial.” “The

substantiality inquiry under Grable looks . . . to the importance of the issue to the federal system

as a whole.” Gunn, 568 U.S. at 260. Among other things, the Court must assess whether the

federal government has a “strong interest” in the federal issue at stake and whether allowing state

courts to resolve the issue will “undermine the development of a uniform body of [federal] law.”

Id. at 260-62 (citation omitted); Municipality of Mayaguez v. Corporacion Para el Desarrollo

del Oeste, Inc., 726 F.3d 8, 14 (1st Cir. 2013) (“[A] federal issue may also be substantial where

the resolution of the issue has ‘broader significance ... for the Federal Government.’” (quoting

Gunn, 568 U.S. at 260)). As the Supreme Court explained in Grable, “[t]he doctrine captures the

commonsense notion that a federal court ought to be able to hear claims recognized under state

law that nonetheless turn on substantial questions of federal law, and thus justify resort to the

experience, solicitude, and hope of uniformity that a federal forum offers on federal issues.” 545

U.S. at 312.

       37.     Plaintiff’s theories of Distributor Defendants’ liability necessarily require that a

court determine the scope of Distributor Defendants’ obligations under federal law because

regulation of controlled substances is first and foremost federal regulation.        Compl. ¶ 368

(“Under the statutory scheme set out in the CSA enacted by Congress in 1970, wholesale




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pharmaceutical distributors were given the statutory obligation to have in place ‘effective

controls’ to prevent the ‘diversion’ of controlled substances.”). Indeed, Congress designed the

CSA with the intent of reducing illegal diversion of controlled substances, “while at the same

time providing the legitimate drug industry with a unified approach to narcotic and dangerous

drug control.”     H.R. Rep. No. 1444, 91st Cong. (2nd Sess. 1970), as reprinted in 1970

U.S.C.C.A.N. 4566, 4571-72.

       38.       Plaintiff’s theories of Distributor Defendants’ liability thus “involve aspects of the

complex federal regulatory scheme applicable to” the national prescription drug supply chain,

Broder v. Cablevision Sys. Corp., 418 F.3d 187, 195 (2d Cir. 2005), and are “sufficiently

significant to the development of a uniform body of [controlled substances] regulation to satisfy

the requirement of importance to the federal system as a whole,” NASDAQ OMX Grp., Inc. v.

UBS Sec., LLC, 770 F.3d 1010, 1024 (2d Cir. 2014).

       39.       Plaintiff’s attempt to enforce the CSA raises a substantial federal question even

though the CSA does not provide for a private right of action. In 2005, in Grable, the Supreme

Court held that lack of a federal cause of action does not foreclose federal-question jurisdiction.

The Court stated that applying Merrell Dow too narrowly would both “overturn[ ] decades of

precedent,” and “convert[ ] a federal cause of action from a sufficient condition for federal-

question jurisdiction into a necessary one.” Grable, 545 U.S. at 317; see also, e.g., Ranck v. Mt.

Hood Cable Reg. Comm’n, 2017 WL 1752954, at *4-*5 (D. Or. May 2, 2017) (state law claims

based on violations of Cable Communications Policy Act raise substantial federal questions and

satisfy Grable even though no private right of action exists under the Act).

       40.       The CSA itself notes that “illegal importation, manufacture, distribution, and

possession and improper use of controlled substances have a substantial and detrimental effect




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on the health and general welfare of the American people” and that “[f]ederal control of the

intrastate incidents of the traffic in controlled substances is essential to the effective control of

the interstate incidents of such traffic.” 21 U.S.C. § 801. Furthermore, “minimizing uncertainty

over” reporting obligations under the CSA “fully justifies resort to the experience, solicitude, and

hope of uniformity that a federal forum offers on federal issues.” New York ex rel. Jacobson v.

Wells Fargo Nat’l Bank, N.A., 824 F.3d 308, 317-18 (2d Cir. 2016); see also PNC Bank, N.A.,

189 F. App’x at 104 n.3 (state law claim “raises a substantial federal question—the interpretation

of” a federal statute “over which the District Court properly exercised removal jurisdiction”);

Rhode Island Fishermen’s All., 585 F.3d at 51 (“[T]here is a substantial federal interest in

ensuring that actions taken in pursuance of [federal regulatory programs] receive the uniformity

of interpretation that a federal forum offers.”). Thus, “[g]iven that . . . the plaintiffs’ claims turn

on the interpretation of the federal regulations governing” the distribution of controlled

substances “and the importance of those regulations to the Congressional scheme, this case

plainly falls within the narrow swath of cases described in Grable.”            Anversa v. Partners

Healthcare Sys., Inc., 835 F.3d 167, 174 n.5 (1st Cir. 2016).

       41.     Removal is particularly appropriate here because Plaintiff’s action is but one of

more than 1,000 similar actions nationwide, most of which are pending in the MDL in the

Northern District of Ohio. See MDS (Canada) Inc. v. Rad Source Techs., Inc., 720 F.3d 833, 842

(11th Cir. 2013) (“[A] question that will control many other cases is more likely to be a

substantial federal question.”). The MDL judge, Judge Polster, is attempting to achieve a

national solution to this nationwide problem.8




8
  Less than two months after the MDL was created, Judge Polster convened the first day-long
settlement conference on January 31, 2018. Judge Polster required attendance by party


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       42.     Fourth, and finally, the federal issue also is capable of resolution in federal court

“without disrupting the federal-state balance approved by Congress.” Gunn, 568 U.S. at 258.

Federal courts exclusively hear challenges to DEA authority to enforce the CSA against

distributors, and litigating this case in a state court runs the risk of the state court applying

federal requirements inconsistently with the manner in which the federal agency tasked with

enforcing the CSA—the DEA—applies them. Federal jurisdiction is therefore “consistent with

congressional judgment about the sound division of labor between state and federal courts

governing the application of § 1331.” PNC Bank, N.A., 189 F. App’x at 104 n.3.

       43.     In summary, removal of this action is appropriate because Plaintiff’s “state-law

claim[s] necessarily raise a stated federal issue, actually disputed and substantial, which a federal

forum may entertain without disturbing any congressionally approved balance of federal and

state judicial responsibilities.” Grable, 545 U.S. at 314; see also, e.g., PNC Bank, N.A. 189 F.

App’x at 104 n.3 (state law claim based on violation of Internal Revenue Code “gives rise to

federal-question jurisdiction” under Grable); New York ex rel. Jacobson, 824 F.3d at 315–18

(state law claims based on defendant’s alleged violation of Internal Revenue Code satisfy

Grable); NASDAQ OMX Grp., Inc., 770 F.3d at 1031 (state law claims premised on violations of

Exchange Act “necessarily raise disputed issues of federal law of significant interest to the

federal system as a whole”); Gilmore v. Weatherford, 694 F.3d 1160, 1176 (10th Cir. 2012)

(“Although plaintiffs could lose their conversion claim without the court reaching the federal

question, it seems that they cannot win unless the court answers that question. Thus, plaintiffs’

‘right to relief necessarily depends on resolution of a substantial question of federal law.’”)

(citation omitted); Broder, 418 F.3d at 196 (state law claims premised on cable provider’s

representatives and their insurers and invited attendance by Attorneys General and
representatives of the DEA and FDA.


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alleged violations of Communication Act’s uniform rate requirement satisfy “Grable test for

federal-question removal jurisdiction”); Ranck, 2017 WL 1752954, at *5 (state law claims based

on violations of Cable Communications Policy Act satisfy Grable).

       44.     ABDC acknowledges that in City of Worcester v. Purdue Pharma, L.P., No. 4:18-

cv-11958-TSH (D. Mass. Nov. 21, 2018), the Court remanded a similar lawsuit to state court.

Due to 28 U.S.C. § 1447(d), ABDC was unable to seek the Court of Appeals’ review of the

remand order in Worcester. However, as ABDC will argue in opposition to any motion to

remand in this case, the Worcester remand order—a non-binding District Court decision—was

inconsistent with governing law because, as another District Court in this Circuit subsequently

held in a similar case, “Defendants have asserted a plausible basis for removal” based on federal

question jurisdiction. City of Portland v. Purdue Pharma, LP, 2018 WL 6191127, at *4 (D. Me.

Nov. 28, 2018). In addition, the Worcester remand order does not have collateral estoppel effect

as to ABDC’s current removal of this lawsuit.9 Therefore, the Worcester remand does not

preclude removal of this case.10



9
  Fernandez-Vargas v. Pfizer, 522 F.3d 55, 68 (1st Cir. 2008) (“principles of . . . collateral
estoppel . . . come into play only when there is a final judgment or appealable order to be
protected or effectuated”); Gonzalez–Garcia v. Williamson Dickie Mfg. Co., 99 F.3d 490, 492
(1st Cir. 1996) (“principles of collateral estoppel would not apply to” an “unreviewable” district
court decision); Wells Fargo Bank, N.A. v. WMR e-PIN, LLC, 653 F.3d 702, 705 (8th Cir. 2011)
(“a non-appealable remand order lacks preclusive effect”) (citations omitted); 18A Wright &
Miller, Fed. Prac. & Proc. Juris. § 4433 (3d ed.) (“[t]he district court’s ruling that there is no
subject-matter jurisdiction does not support preclusion on the jurisdiction issue”); Restatement
(Second) of Judgments § 28 (1982) (“relitigation of the issue in a subsequent action between the
parties is not precluded” when “[t]he party against whom preclusion is sought could not, as a
matter of law, have obtained review of the judgment in the initial action”).
10
   Furthermore, ABDC has removed other similar cases to this Court (e.g., City of Boston v.
Purdue Pharma L.P., No. 1:18-cv-12174-LTS (D. Mass.); City of Fitchburg v. Purdue Pharma
L.P., 1:18-cv-12580-LTS (D. Mass.)), which have not been remanded. Boston’s motion to
remand remains pending before Judge Sorokin and Fitchburg has been transferred to the MDL.


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       45.     To the extent that the Court determines that some, but not all, of Plaintiff’s claims

state a substantial federal question, the Court can evaluate whether to retain the non-federal

claims against the Distributor Defendants, Manufacturer Defendants, and Individual Defendants

under the doctrine of supplemental jurisdiction, 28 U.S.C. § 1367(a).

V.     OTHER REMOVAL ISSUES

       46.     Under 28 U.S.C. § 1446(b)(2)(A), all defendants that have been properly joined

and served must join or consent to removal.

       47.     The following Defendants have been served with the Complaint and consent

to removal as indicated by their counsel’s signatures below: Purdue Pharma L.P. d/b/a Purdue

Pharma (Delaware) Limited Partnership; Purdue Pharma Inc.; The Purdue Frederick

Company,     Inc.;   Teva    Pharmaceuticals      USA,     Inc.;   Cephalon,    Inc.;   Collegium

Pharmaceuticals USA, Inc.; Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-

McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Endo Health

Solutions, Inc.; Endo Pharmaceuticals, Inc.; Watson Laboratories, Inc.; Actavis LLC;

Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Insys Therapeutics, Inc.; McKesson

Corporation, Cardinal Health, Inc.

       48.     Although the following Defendants have not been served, and thus their

consent to removal is not required, the Defendants nonetheless consent to removal: Allergan

plc f/k/a Actavis plc (Allergan plc); Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.;

Mallinckrodt LLC; Mallinckrodt plc.

       49.     Defendant John N. Kapoor consents to removal, as indicated by his counsel’s

signature in the attached consent form (Exhibit B).




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       50.     Defendants Beverly Sackler; David Sackler; Ilene Sackler Lefcourt; Jonathan

Sackler; Kathe Sackler; Mortimer D.A. Sackler; Richard Sackler; and Theresa Sackler consent to

this removal, as indicated by their counsel’s signatures below.

       51.     By filing this Notice of Removal, ABDC and the consenting Defendants expressly

reserve, and do not waive, any and all defenses that may be available to them, including those

related to personal jurisdiction and service of process.

       52.     If any question arises as to propriety of removal to this Court, ABDC requests the

opportunity to present a brief and oral argument in support of its position that this case has been

properly removed.

       53.     Pursuant to 28 U.S.C. § 1446(d), ABDC will promptly file a copy of this Notice

of Removal with the clerk of the state court where the lawsuit has been pending and serve notice

of the filing of this Notice of Removal on Plaintiff.

       54.     ABDC reserves the right to amend or supplement this Notice.

       WHEREFORE, ABDC removes this action, pending in the Superior Court Department,

Commonwealth of Massachusetts, Civil Action No. 1882CV01582, to this Court.



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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 25, 2019, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system, and served same, via e-mail and US mail,

postage prepaid, upon counsel of record addressed as follows:

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